
1 N.Y.2d 864 (1956)
In the Matter of Eugene F. Connaughton et al., Respondents,
v.
Oscar M. Taylor et al., Constituting the New York State Civil Service Commission, Appellants, et al., Respondents.
Court of Appeals of the State of New York.
Argued April 27, 1956.
Decided June 8, 1956.
Jacob K. Javits, Attorney-General (Abe Wagman, James O. Moore, Jr., and Jerome O. Glucksman of counsel), for appellants.
Harold L. Herzstein for Eugene F. Connaughton and others, respondents.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ.
Order affirmed, with costs. We regard the appellants as parties interested and aggrieved and, having fully considered the questions posed, agree on the merits with the decision of the courts below. No opinion.
